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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re                                                  Chapter 11

LIFE SETTLEMENTS ABSOLUTE                              Case No. 17-13030 (MFW)
RETURN I, LLC, et al.,1                                (Jointly Administered)

                            Debtors.


         SCHEDULE OF ASSETS AND LIABILITIES FOR THE DEBTORS

        Life Settlements Absolute Return I, LLC and Senior LS Holdings, LLC
(collectively, the “Debtors”) with the assistance of their counsel and advisors, have filed
their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements, and together with the Schedules, the “Schedules and
Statements”) with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the
Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (the
“Global Notes”) pertain to, are incorporated by reference in, and comprise an integral
part of the Debtors’ Schedules and Statements. The Global Notes should be referred to,
considered, and reviewed in connection with any review of the Schedules and Statements.

       The Schedules and Statements do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United
States (“GAAP”), nor are they intended to be fully reconciled with the financial
statements of the Debtors (whether publically filed or otherwise). Additionally, the
Schedules and Statements contain unaudited information that is subject to further review
and potential adjustment.



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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Life Settlements Absolute Return I, LLC (7992) and Senior LS
Holdings, LLC (5731). The mailing address for the Debtors, solely for purposes of notices and
communications, is: 2131 Woodruff Road, Suite 2100-117, Greenville, South Carolina 29607, with copies
to Nelson Mullins Riley & Scarborough, LLP, c/o Shane G. Ramsey, 150 Fourth Avenue North, Suite
1100, Nashville, TN 37219 and Bayard, P.A., c/o Evan T. Miller, 600 North King Street, Suite 400,
Wilmington, DE 19801.

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        In preparing the Schedules and Statements, the Debtors relied upon information
derived from their books and records that was available at the time of such preparation.
Although the Debtors have made reasonable efforts to ensure the accuracy and
completeness of such financial information, inadvertent errors or omissions, as well as
the discovery of conflicting, revised, or subsequent information, may cause a material
change to the Schedules and Statements. Accordingly, the Debtors reserve all of their
rights to amend, supplement, or otherwise modify the Schedules and Statements as is
necessary and appropriate. Notwithstanding the foregoing, the Debtors shall not be
required to update the Schedules and Statements.

        The Debtors, their officers, agents and attorneys do not guarantee or warrant the
accuracy or completeness of the data that is provided herein and shall not be liable for
any loss or injury arising out of or caused in whole or in part by the acts, omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating or delivering the information contained herein. Except as
expressly required by the Bankruptcy Code, the Debtors and their officers, agents and
attorneys expressly do not undertake any obligation to update, modify revise or re-
categorize the information provided herein or to notify any third party should the
information be updated, modified, revised or re-categorized. The Debtors, on behalf of
themselves, their officers, agents and advisors disclaim any liability to any third party
arising out of or related to the information contained in the Schedules and Statements and
reserve all rights with respect thereto.

                      Global Notes and Overview of Methodology

1. Reservation of Rights. Reasonable best efforts have been made to prepare and file
    complete and accurate Schedules and Statements; however, inadvertent errors or
    omissions may exist. The Debtors reserve all rights to amend or supplement the
    Schedules and Statements from time to time, in all respects, as may be necessary or
    appropriate, including, without limitation, the right to amend the Schedules and
    Statements with respect to claim (“Claim”) description, designation, or Debtors
    against which the Claim is asserted; dispute or otherwise assert offsets or defenses to
    any Claim reflected in the Schedules and Statements as to amount, liability, priority,
    status, or classification; subsequently designate any Claim as “disputed,”
    “contingent,” or “unliquidated;” or object to the extent, validity, enforceability,
    priority, or avoidability of any Claim. Any failure to designate a Claim in the
    Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
    constitute an admission by the Debtors that such Claim or amount is not “disputed,”
    “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
    liability by the Debtors against which the Claim is listed or against any of the
    Debtors. Furthermore, nothing contained in the Schedules and Statements shall
    constitute a waiver of rights with respect to the Debtors’ chapter 11 cases, including,
    without limitation, issues involving Claims, substantive consolidation, defenses,
    equitable subordination, recharacterization, and/or causes of action arising under the
    provisions of chapter 5 of the Bankruptcy Code and any other relevant non-
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    bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
    rights contained elsewhere in the Global Notes does not limit in any respect the
    general reservation of rights contained in this paragraph. Notwithstanding the
    foregoing, the Debtors shall not be required to update the Schedules and Statements.

    The listing in the Schedules or Statements by the Debtors is a statement of what
    appears in the Debtors’ books and records and does not reflect any admission or
    conclusion of the Debtors regarding whether such amount would be allowed as a
    Claim or how such obligations may be classified and/or characterized in a plan of
    reorganization or by the Bankruptcy Court. The Debtors reserve all rights with
    respect to such obligations.

2. Description of Case. On December 29, 2017 (the “Petition Date”), each of the
   Debtor filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code.
   The Debtors are operating their businesses and managing their property as debtors in
   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
   Debtors’ cases are being jointly administered.

 3.Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to
   properly characterize, classify, categorize or designate certain Claims, assets,
   executory contracts, unexpired leases and other items reported in the Schedules and
   Statements, the Debtors may, nevertheless, have improperly characterized, classified,
   categorized, designated, or omitted certain items due to the complexity and size of
   the Debtors’ business. Accordingly, the Debtors reserve all of their rights to
   recharacterize, reclassify, recategorize, redesignate, add or delete items reported in
   the Schedules and Statements at a later time as is necessary or appropriate as
   additional information becomes available, including, without limitation, whether
   certain Claims, specifically including, but not limited to, any alleged Claim held by
   the Employee Retirement System of the Government of the Virgin Islands should be
   recharacterized as equity rather than debt.

4. Insiders. For purposes of the Schedules and Statements, the Debtors define insiders
   as that term is defined in Section 101(31) of the Bankruptcy Code. Persons listed as
   “insiders” have been included for informational purposes only and by including them
   in the Schedules and Statements, shall not constitute an admission that those persons
   are insiders for purposes of Section 101(31) of the Bankruptcy Code. Moreover, the
   Debtors do not take any position with respect to: (a) such person’s influence over the
   control of the Debtors; (b) the management responsibilities or functions of such
   individual; (c) the decision-making or corporate authority of such individual; or (d)
   whether the Debtors or such individual could successfully argue that he or she is not
   an “insider” under applicable law, including the federal securities laws, or with
   respect to any theories of liability or for any other purpose. Further, the Debtors
   reserve all rights to assert that other entities may be deemed a non-statutory insider
   under applicable law, specifically including, but not limited to the Employee

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    Retirement System of the Government of the Virgin Islands due to its $50 million
    equity investment in The Attilanus Fund, I, L.P.

5. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
   Schedule E/F Part 1 as “priority,” (c) Schedule E/F Part 2 as “unsecured,” or (d) on
   Schedule G as “executory” or “unexpired,” does not constitute an admission by the
   Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to
   recharacterize or reclassify such Claims or contracts or to setoff of such Claims.

6. Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
   “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on
   a given Debtors’ Schedules and Statements as “disputed,” “contingent,” or
   “unliquidated” does not constitute an admission by that Debtor that such amount is
   not “disputed,” “contingent,” or “unliquidated,” or that such Claim is not subject to
   objection. The Debtors reserve all of their rights to dispute, or assert offsets or
   defenses to, any Claim reflected on its respective Schedules and Statements on any
   grounds, including liability or classification. Additionally, the Debtors expressly
   reserve all of their rights to subsequently designate such Claims as “disputed,”
   “contingent,” or “unliquidated.” Moreover, listing a Claim does not constitute an
   admission of liability by the Debtors.

7. Causes of Action. Despite their reasonable best efforts to identify all known assets,
   the Debtors may not have listed all of its causes of action or potential causes of
   action against third-parties as assets in the Schedules and Statements, including,
   without limitation, causes of actions arising under the provisions of chapter 5 of the
   Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or
   avoid transfers. The Debtors reserve all of their rights with respect to any cause of
   action (including avoidance actions), controversy, right of setoff, cross-Claim,
   counter-Claim, or recoupment and any Claim on contracts or for breaches of duties
   imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
   obligation, liability, damage, judgment, account, defense, power, privilege, license,
   and franchise of any kind or character whatsoever, known, unknown, fixed or
   contingent, matured or unmatured, suspected or unsuspected, liquidated or
   unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
   derivatively, whether arising before, on, or after the Petition Date, in contract or in
   tort, in law, or in equity, or pursuant to any other theory of law (collectively,
   “Causes of Action”) they may have, and neither these Global Notes nor the
   Schedules and Statements shall be deemed a waiver of any Claims or Causes of
   Action or in any way prejudice or impair the assertion of such Claims or Causes of
   Action.

8. Summary of Significant Reporting Policies. The following is a summary of
   significant reporting policies:



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                   a.       Undetermined Amounts. The description of an
                            amount as “unknown,” “TBD” or “undetermined”
                            is not intended to reflect upon the materiality of
                            such amount.

                   b.       Totals. All totals that are included in the Schedules
                            and Statements represent totals of all known
                            amounts. To the extent there are unknown or
                            undetermined amounts, the actual total may be
                            different than the listed total.

                   c.       Liens. Property listed in the Schedules and
                            Statements are presented without consideration of
                            any liens that may attach (or have attached) to such
                            property and equipment.

9. Estimates and Assumptions. Because of the timing of the filings, management was
   required to make certain estimates and assumptions that affected the reported
   amounts of these assets and liabilities. Actual results could differ from those
   estimates, perhaps materially. The Debtors reserve all rights to amend the reported
   amounts of assets and liabilities to reflect changes in those estimates or assumptions.

10. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

11. Global Notes Control. In the event that the Schedules and Statements differ from the
    foregoing Global Notes, the Global Notes shall control.

                        Specific Disclosures with Respect to the Debtors’ Schedules

Schedule D. The Debtors reserve their rights to dispute or challenge the validity,
perfection, or immunity from avoidance of any lien purported to be granted or perfected
in any specific asset of the Employee Retirement System of the Government of the
Virgin Islands listed on Schedule D of any Debtor. Moreover, although the Debtors have
scheduled a Claim of the Employee Retirement System of the Government of the Virgin
Islands as a secured Claim, the Debtors reserve all of their rights to dispute or challenge
the secured nature of such creditor’s Claim or the characterization of the structure of any
such transaction or any document or instrument related to such creditor’s Claim. The
descriptions provided on Schedule D are solely intended to be a summary—and not an
admission—of liability.

Reference to the applicable loan agreements and related documents is necessary for a
complete description of the collateral and the nature, extent, and priority of liens.
Nothing in the Global Notes or the Schedules and Statements shall be deemed a
modification or interpretation of the terms of such agreements.


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              Specific Disclosures with Respect to the Debtors’ Statements

Statement 4. The listing of a party as an Insider in the Schedules and Statements is not
intended to be, nor shall be, construed as a legal characterization or determination of such
party as an actual insider ad does not act as an admission of any fact, claim, right or
defense, and all such rights, claims, and defenses are hereby expressly reserved.
Statement 4 does not include disbursements or other transfers made by Debtors to the
Employee Retirement System of the Government of the Virgin Islands. However, to the
extent this entity is deemed to be a non-statutory insider under applicable law, the
Debtors reserve the right to amend their Statements to identify any such disbursements
or other transfers made by the Debtors to this entity within the one year before the filing
of these cases.




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